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Trion James v. Port Authority Police Department, Port Authority of New York and New Jersey,
Edward Cetnar (in his official capacity), Christopher McNerney (in his official capacity), and
Does 1-5
Civil No.: 1:22-cv-02463-PGG




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THE PORT AUTHORITY OF NEW YORK & NEW JERSEY
OFFICE OF INSPECTOR GENERAL
Office of Investigations

REPORT OF INVESTIGATION

 CASE NO:   C-21-0021               PREPARED BY:      Inna S ector, Investi ative Counsel                        DATE'.   11/10/21

 TYPE OF ACTIVITY:     Interview of Brian McPherson                                                      DATE OF ACTIVITY:     11/9/21

 SUBJECT:    Trion James Allegations

On November 9, 2021, the Port Authority of New York & New Jersey ("PA"), Office of Inspector General
("OIG") Investigative Counsel Inna Spector and Phillip Leahy interviewed Deputy Police Inspector Brian
McPherson ("McPherson"). The interview took place at the OIG's office located at 5 Marine View Plaza,
Hoboken, NJ 07030, Suite 502. McPherson acknowledged that this interview was voluntary, and he was
informed that he was a witness in this investigation.

McPherson explained that he was asked to participate in and was selected by Headquarters ("HQ") to be
on a panel to conduct Quality Review Meetings ("QRMs") for candidates that applied for the Detective
("Det") Sergeant ("Sgt.") promotion in the spring of 2021. Police Lieutenant Michelle Serrano was the
one coordinating the process from HQ; the QRMs in 2021 were done via MS Teams. The panel, which
consists of three people, two Commanding Officers and one representative from the PA' s Human
Resources Department ("HRD"), is selected randomly to conduct the QRMs and rate the candidates'
performance based on a standard scoring system. The panelists sign confidentiality forms indicating that
they will not share any information regarding the QRMs. They are also provided with "Rating Forms" to
use for notes during the QRM; there is a one-page form for each of the six questions asked during the
QRM. There is also a list of questions that the panelists receive shortly prior to the QRMs. The panel
does not know who the candidates they will be interviewing are until the day of the QRMs, shortly prior
to the interviews. Brian Miller ("Miller'') from HRD asked the panelists a few minutes prior to the
interviews if any of them had a potential conflict or reservations with respect to any of the candidates on
their lists to be interviewed or if interviewing the candidate would present an issue due to working closely
with them. In that case, the candidate would be switched to a different panel. The interviewers have no
role in formulating the questions for the QRM; the panels usually do anywhere from three to five
interviews per day; on two different days. Panels also switch composition on the second day.

After each QMR is completed and the raters note important points made by candidates during the interview
on the Rating Forms they are provided, the HRD representative on the panel pulls up (on computer screen)
the comprehensive multi-page rating form that contains rating instructions, questions, rating summaries,
and evaluation checklists for each question. This form is completed by the HRD representative after
detailed discussion and consensus among the raters; all the raters agree on what boxes are to be checked
for each question, based on their notes. If at least one person took a note about something a candidate
said that box is checked. If none of the raters noted the answer, the box is not checked. The fmal scores
are based on the information provided by candidates during the QRM. This process is objective and


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independent of any outside influence. McPherson stated that he did not have any directions or influence
fro~ anyone on how to rate candidates.

With respect to QMR for Sgt. Trion James ("James"), McPherson recalled the interview and after
reviewing his notes on the Rating Forms and the scores on the final rating form, he stated that James
scored lower than some other candidates for this promotion. McPherson met James once at the PA
Technical Center during an event prior to QRMs, but he did not know him and never worked with him.
He went over all the questions on the QRM and explained in detail why James received the scores he
received. He again reiterated that nobody talked to him about James' QRM, and he was not pressured by
anyone with respect to James' rating.

With respect to Question 1, which asks about key responsibilities of the Det. Sgt. position, McPherson
explained that although James had good military and tactical experience, compared to other candidates it
did not translate into the necessary experience for supervising detectives; the panel was looking for more
infonnation from James on the Det. Sgt.' s responsibilities and he missed a lot. Some of the relevant items
that James did not provide in his QMR were identifying and securing PA facilities, reviewing cases,
managing VIP events, and contacts with prosecutors and communications with law enforcement agencies.
James received a rating of "3" on Question 1.

For Question 2, James received a rating of "4". He gave more examples of leadership skills and did well
on the second part of the question, which asked about demonstrated leadership as a supervisor.

James was rated a ''2" on Question 3, which presented a hypothetical situation involving a theft of a
handbag and asked what steps a Det. was expected to take. McPherson stated that James' answer was
very brief and that McPherson "didn't have enough to write." James did not provide much detail or basic _
investigative principles that Det. Sgt. should know. In McPherson's opinion, a score this low on this type
of question indicated a possible lack of preparation for the QRM. McPherson believes there are various
study guides available to candidates to help prepare for the interviews. He also said that James could have
just spoken to current Det. Sgts. to ask them about their daily duties and responsibilities to get a better
understanding of the job.

On Question 4, which askes about steps in a missing person case, James received a rating of ''2" as well.
James again failed to mention basic principles such as Amber Alert, Silver Alert, or BOLO. He missed a
lot of check boxes - he did not discuss checking area hospitals, taking witness statements, or asking a
basic question if the person has been found. His answer missed key parts of the question and indicated
lack of basic investigative knowledge.

James did welLon Question 5, by receiving a rating of "5." The question asked about actions in
apprehending a wanted subject. James covered important areas, such as contacting CPD, getting pedigree
information and description, and contacting a tour commander.

On Question 6, which had a case scenario of an assault on a homeless person, James received a rating of
"3." He again missed certain important key points, such as camera feed checks, BOLO, canvassing the
area or doing a photo array, as well as contacting a prosecutor and vouchering e:vidence.


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Overall, James' performance was low compared to other candidates McPherson interviewed. He stressed
that a score of "2" on basic questions was very low and showed that he was not prepared and did not
widerstand the responsibilities of the job. After the discussion and rating of candidates, the rating fonns
were given to Miller or another HRD person. The QRM panels do not take part in determined which list,
if any, candidates are placed on ("Not Recommended,'' "Recommended," or "Highly Recommended").
McPherson is not aware what standards or criteria HRD uses for list placements. He is only there for the
QMR panel as a separate part in the selection process. McPherson has not had any contact with James
since the QRMs. He again stressed that each person is measured by his/her own abilities during the QRMs.




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